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8                                     UNITED STATES DISTRICT COURT

9                                CENTRAL DISTRICT OF CALIFORNIA

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11   ALEXANDER STROSS,                          )   Case No. CV 20-6303 FMO (PDx)
                                                )
12                       Plaintiff,             )
                                                )
13                v.                            )   JUDGMENT
                                                )
14   JAMES GOSA REAL ESTATE, INC., et           )
     al.,                                       )
15                                              )
                         Defendants.            )
16                                              )

17         IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18   Dated this 12th day of January, 2021.

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20                                                                    /s/
                                                               Fernando M. Olguin
21                                                          United States District Judge

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